Case: 6:12-cr-00012-GFVT-HAI Doc #: 45 Filed: 01/10/14 Page: 1 of 2 - Page ID#: 178



                                               December 31, 2013
     To: U.S. District Court
          Judge Van Tatenhove
          310 S. Main st.                                        Eastern District of Kentucky
          London, Kentucky                                             F I LED
                           40741
                                                                       JAN 1 0 2m4
                                                                           AT LONDON
                                                                        ROBERT R. CARR
                                                                    CLERK U.S. DISTRICT COURT
     By: Werner Grentz
          Reg. No. 15601 -032
          P.O. Box 14500
          Lexington, Kentucky
                          40512




     RE: Receiving Federal indictment, etc./Case No. 6:12-cr-12­
         GFVT-HAI-1


     Dear Judge Van Tatenhove,


                            Happy Holidays!!!!!!

         As Your Honor is aware, my name is Werner Grentz, the

     defendant who was recently convicted in the u.s. District

     Court for the Eastern District of Kentucky, at London,

     and is currently serving an 18 month sentence in the u.s.

     Bureau of Prisons.

         The instant communication is a request that I be all­

     owed certain documents from the court.

        My intent is to file for relief under 28 U.S.C.S. 2255,

    in light of recent information received by my family.
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         These documents would include the indictment, plea
      agreement and sentencing transcripts concerning crim­

      inal case no. 6:12-cr-12-GFVT-HAI-1.

         I realize that certain agreements were made between

      myself and the government, however, it has been brought

      to my attention that a miscarriage of justice occurred

      with respect to my sentencing.

         Rather than bore Your Honor with the constitutional

      violations I wish to raise, I simply seek the above co­

      urt documents at this time in order that a formal mot­

      ion may be prepared in my endeavor to have my sentence

      corrected as allowed by law.

         It is my understanding that I must challenge the

      performance of my attorney with respect to the matters

      I intend to raise, however, I am in need of the above

      documents before I am able to perform this act.

         As I am indigent at this time, I ask that I not be

      required to prepay the court for the documents.

         Any, and all, assistance that the court may be able

      to extend will be greatly appreciated.

                                                 Thank you.




                                                 Reg. No. 15601-032
                                                 P.o.   Box 14500
                                                 Lexington, Kentucky
                                                                 40512



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